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                    IN THE UNITED STATES DISTRICT COURT FOR THE '' C
                                EASTERN DISTRICT OF VIRGINIA
                                                                                              FEB I 3 2018
                                        Alexandria Division
                                                                                                             R1

UNITED STATES,
                                                       CaseNo.:(
        v.



PAUL J. MANAFORT, JR.,                          )      UNDER SEAL

                                         ORDER TO SEAL


        The UNITED STATES, pursuant to Local Rule 49(B) of the Local Criminal Rules for the

United States DistrictCourtfor the Eastern District of Virginia, having moved to seal the

indictment, the Motion to Seal, and proposed Order in this matter; and

        The COURT, having found that revealingthe material sought to be sealed would

jeopardize an ongoing criminal investigation; having considered the available alternatives that

are less drastic than sealing, and finding none would suffice to protectthe government's

legitimate interest in concluding the investigation; and finding thatthis legitimate government

interest outweighs at thistime any interest in the disclosure of the material; it is hereby

        ORDERED, ADJUDGED, and DECREED that the indictment. Motion to Seal, and this

Order be Sealed until further order of Court,
                                                                   .Is!.
                                                     John F. Anderson
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Date:
        Alexandria, Vil-ginia
